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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                              10/21/2020
 BASHID MCLEAN,

                               Plaintiff,
                                                 19-CV-10967 (PAE) (BCM)
                   -against-
                                                 ORDER OF SERVICE
 HAZEL JENNINGS, et al.,

                               Defendants.

BARBARA MOSES, United States Magistrate Judge.

       The Clerk of Court is directed to notify the New York City Department of Correction and

the New York City Law Department of this order. The Court requests that Samantha Brown, Frank

Scott, Captain Brown (Shield #1387), and Captain Frederick waive service of summons.

Dated: New York, New York
       October 21, 2020

                                             SO ORDERED.



                                             ________________________________
                                             BARBARA MOSES
                                             United States Magistrate Judge
